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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

MARIBEL BAEZ, et al.,

                       Plaintiffs,
                                                13 Civ. 8916 (LAP)
-against-
                                                        ORDER
NEW YORK CITY HOUSING
AUTHORITY,

                       Defendant.

LORETTA A. PRESKA, Senior United States District Judge:

    The Court has been advised that Congressman Ritchie Torres

has requested a comprehensive report on the progress that the

New York City Housing Authority (“NYCHA”) has made and the

challenges that it faces in remediating problems of mold and

moisture in NYCHA apartments.         This report is being prepared

jointly by NYCHA and Neil Steinkamp, the Independent Data

Analyst appointed pursuant to the Baez Consent Decree.             The

Court requests a copy of the report upon its completion.

SO ORDERED.

Dated:       New York, New York
             January 20, 2023

                               __________________________________
                               LORETTA A. PRESKA
                               Senior United States District Judge




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